                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

United States of America,                )
                            Plaintiff,   )
                                         )
             v.                          )     No. 5:12-cr-06014-FJG-4
                                         )
Earl Penn,                               )
                            Defendant.   )


                        ACCEPTANCE OF PLEA OF GUILTY
                          AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of United States Magistrate Judge

John Maughmer (Doc. #192 filed on September 10, 2013), to which no objection has

been filed, the plea of guilty to Count One of the Superseding Indictment which was filed

on February 25, 2013, is now accepted.          Defendant is adjudged guilty of such

offense(s). Sentencing will be set by subsequent order of the court.




                                                /s/ Fernando J. Gaitan, Jr.
                                               Fernando J. Gaitan, Jr.
                                               Chief United States District Judge

Dated: October 3, 2013
Kansas City, Missouri




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